 Case: 4:13-cv-00252-CAS Doc. #: 44 Filed: 01/14/15 Page: 1 of 3 PageID #: 169



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

RAYMOND K. JONES                                  )
                                                  )
               Plaintiff,                         )
                                                  )
vs.                                               )
                                                        No. 4:13-cv-00252-CAS
                                                  )
BEELMAN TRUCK CO.                                 )
                                                  )
               Defendant.                         )


  BEELMAN TRUCK COMPANY’S MOTION TO BAR CERTAIN TESTIMONY OF
      WILLIAM HAMPTON UNDER DAUBERT AND FRE 403, 702 AND 704

       COMES NOW Defendant Beelman Truck Company (“Beelman”) and requests the Court

enter an Order barring certain testimony of plaintiff’s liability expert, William Hampton, as it

fails to satisfy the standards set forth in Daubert as well as Federal Rules of Evidence, 403, 702

and 704. In support of its motion, Beelman states as follows:

       1.      Plaintiff has disclosed a lone liability expert, William Hampton, who has offered

nine opinions in this case. With respect to Hampton’s opinions Nos. 1, 2, 3, 4, and 9, Mr.

Hampton is not qualified to give such opinions as he is not qualified as a human factors expert.

In addition, even if Hampton were qualified to render those opinions, his opinions Nos. 1, 2, 3, 4,

5, 6 and 9 are not reliable and, therefore, should not be presented to the jury.

       2.      The admissibility of expert witness testimony is governed by Rule 702 of the

Federal Rules of Evidence, which provides:

               If scientific, technical, or other specialized knowledge will assist
               the trier of fact to understand the evidence or to determine a fact in
               issue, a witness qualified as an expert by knowledge, skill,
               experience, training, or education, may testify thereto in the form
               of an opinion or otherwise, if (1) the testimony is based upon
               sufficient facts or data, (2) the testimony is the product of reliable
 Case: 4:13-cv-00252-CAS Doc. #: 44 Filed: 01/14/15 Page: 2 of 3 PageID #: 170



                principles and methods, and (3) the witness has applied the
                principles and methods reliably to the facts of the case.
Fed. R. Evid. 702.

          3.    In determining the admissibility of expert testimony, the court must first

determine whether the expert is qualified to render an opinion by reason of “knowledge, skill,

experience, training, or education.” Ralston v. Smith & Nephew Richards, Inc., 275 F.3d 965,

969 (10th Cir. 2001). Second, if the court determines the expert is qualified, the court must then

examine the expert’s opinions and the bases thereof to determine whether the opinions are

sufficiently reliable to be admissible. Id.; Daubert v. Merrell Dow Pharmaceuticals, Inc., 509

U.S.579, 590-92 (1993).

          4.    Mr. Hampton should be barred under the first prong because he is not qualified to

render opinions regarding human factors evidence. Additionally, Mr. Hampton’s his opinions

and methodology are unreliable and violate Daubert and Rule 702.

          5.    Accordingly, Mr. Hampton should be barred from offering his opinions numbered

1, 2, 3, 4, 5, 6 and 9 in this action.

          WHEREFORE, for the reasons stated above and in its Memorandum in Support filed

herewith and incorporated herein by reference, Defendant Beelman Truck Company requests this

Court enter an order excluding from trial the human factors numbered 1, 2, 3, 4, 5, 6 and 9

offered by William Hampton and for such other and further relief as the Court deems just and

proper.




                                                2
 Case: 4:13-cv-00252-CAS Doc. #: 44 Filed: 01/14/15 Page: 3 of 3 PageID #: 171



                                                   By: /s/ Christopher D. Baucom _____________
                                                       James L. Stockberger          #37494MO
                                                       Christopher D. Baucom         #56465MO
                                                       Armstrong Teasdale LLP
                                                       7700 Forsyth Blvd., Ste. 1800
                                                       St. Louis, MO 63105
                                                       Phone: (314) 621-5070
                                                       Fax: (314) 621-5065
                                                       jstockberger@armstrongteasdale.com
                                                       cbaucom@armstrongteasdale.com

                                                   ATTORNEYS FOR DEFENDANT



                                       CERTIFICATE OF SERVICE

       I hereby certify that on January 14, 2015, the foregoing was filed electronically with the

Clerk of Court to be served by operation of the Court’s electronic filing system upon all counsel

of record.



                                                   /s/ Christopher D. Baucom




                                               3
